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                            UNITED STATES DISTRICT COURT
                        IN THE EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

WALID SUMMA,
      Plaintiff,
-vs.-                                                  Case No. 4:13-cv-12118-MAG-RSW
                                                       Hon. Mark A. Goldsmith

ENHANCED RECOVERY COMPANY, LLC,
a Delaware company,
       Defendant.
__________________________________


              NOTICE OF VOLUNTARY DISMISSAL OF DEFENDANT
            WITH PREJUDICE AND WITHOUT COSTS TO EITHER PARTY


   The Plaintiff hereby dismisses Defendant, Enhanced Recovery Company, LLC., with

prejudice and without costs to either party.




                                                  Respectfully submitted


   June 21, 2013                                  /s/ Gary Nitzkin____________
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